                   Case 18-40250         Doc 23      Filed 07/20/18       Entered 07/20/18 16:38:14           Desc Main Document             Page 1 of 17




Fill in this information to identify your case:                                                                       For amended plans only:
                                                                                                                           Check if this amended plan is filed prior to
IN THE UNITED STATES BANKRUPTCY COURT                                                                                      any confirmation hearing.

FOR THE EASTERN DISTRICT OF TEXAS                                                                                            Check if this amended plan is filed in
                                                                                                                             response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
Debtor 1              Will                       Spencer                   Chavis
                                                                                                                             denial.
                      First Name                 Middle Name               Last Name
                                                                                                                    List the sections which have been changed by
Debtor 2              Rose                       Marie                     Chavis                                   this amended plan:
(filing spouse)       First Name                 Middle Name               Last Name
                                                                                                                    ______________________________
Case number:          18-40250-btr-13                                                                               ______________________________
                                                                                                                    ______________________________
                                                                                                                    ______________________________

TXEB Local Form 3015-a
                                                               CHAPTER 13 PLAN
                                                                                                                                                            Adopted: Dec 2017

Part 1:         Notices
To Debtor*:         This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be appropriate in
                    some cases, but the presence of an option on the form does not indicate that the option is appropriate in your
                    circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the master mailing
                    list (matrix) of creditors as constituted by the Court on the date of service and evidence that service through
                    a Certificate of Service affixed to this document that attaches a copy of the matrix of creditors which you
                    served. The most current matrix in this case is available under the "Reports" tab of the CM-ECF system.

* The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                    You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                    have an attorney, you may wish to consult one.

                    If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an objection to
                    confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date set for the plan
                    confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued in this case. The
                    objection period may be extended to 7 days prior to the confirmation hearing under the circumstances specified in LBR
                    3015(f). In any event, the Court may confirm this plan without further notice if no objection to confirmation is timely filed.

                    Regardless of whether you are listed in the Debtor's matrix of creditors or in the Debtor's schedules, you must timely file
                    a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the Notice of Chapter 13
                    Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the Trustee's next scheduled
                    distribution date after the Effective Date of the Plan. See § 9.1.

                    The Debtor must check on box on each line to state whether or not the plan includes each of the following
                    items. If an item is checked as "Not Included" or if both boxes are checked, the provision will be ineffective if
                    set out later in the Plan.

1.1     A limit on the amount of an allowed secured claim through a final determination of                                              Included               Not included
        the value of property constituting collateral for such claim, as set forth in § 3.10 of
        this Plan, which may result in a partial payment or no payment at all to the secured
        creditor.

1.2     Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security                                                     Included               Not included
        interest, as set forth in § 3.9 of this Plan.

1.3     Potential termination and removal of lien based upon alleged unsecured status of                                                Included               Not included
        claim of lienholder, as set forth in § 3.11 of this Plan.

1.4     Nonstandard provisions as set forth in Part 8.                                                                                  Included               Not included
                    Case 18-40250          Doc 23      Filed 07/20/18        Entered 07/20/18 16:38:14            Desc Main Document        Page 2 of 17



Debtor     Will Spencer Chavis                                                                                          Case number 18-40250-btr-13
           Rose Marie Chavis

 Part 2:           Plan Payments and Length of Plan

 2.1     The applicable commitment period for the Debtor is                           36          months.


 2.2     Payment Schedule.

         Unless the Court orders otherwise, beginning on the 30th day after the Petition Date* or the entry date of any order converting this
         case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the applicable commitment
         period and for such additional time as may be necessary to make the payments to claimants specified in Parts 3 through 5 of this Plan
         (the "Plan Term" ). The payment schedule shall consist of:
         * The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.

               Constant Payments:              The Debtor will pay             $450.00              per month for                 60        months.

               Variable Payments:      The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for such
               variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.


 2.3     Mode of Payment.             Regular payments to the Trustee will be made from future income in the following manner:

         [Check one]

               Debtor will make payments pursuant to a wage withholding order directed to an employer.

               Debtor will make electronic payments through the Trustee's authorized online payment system.

               Debtor will make payments by money order or cashier's check upon written authority of the Trustee.

               Debtor will make payments by other direct means only as authorized by motion and separate court order.

 2.4     Income tax refunds.

         In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
         required to:

             (1)    supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to the
                    Trustee within 14 days of filing the return; and

             (2)    remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan term
                    which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up to
                    $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee under this
                    Plan at the time of the receipt of such tax refund.

         The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during the
         plan term.


 2.5     Additional payments.             [Check one]

               None. If "None" is checked, the rest of § 2.5 need not be completed.


 2.6     Plan Base.

         The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is        $27,000.00        which, when combined with any income
         tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds received by the
         Trustee on the Debtor's behalf during the Plan Term, constitutes the "Plan Base."


 Part 3:           Treatment of Secured Claims
 3.1     Post-Petition Home Mortgage Payments. [Check one]

               No Home Mortgage. If "No Mortgage" is checked, the remainder of § 3.1 need not be completed.

               Home Mortgage Maturing Before or During Plan Term. If "Mortgage Maturing" is checked, the claim will be addressed in
               § 3.4. The remainder of § 3.1 need not be completed.


TXEB Local Form 3015-a [eff. 12/2017]                                            Chapter 13 Plan                                                           Page 2
                 Case 18-40250         Doc 23      Filed 07/20/18       Entered 07/20/18 16:38:14           Desc Main Document            Page 3 of 17



Debtor    Will Spencer Chavis                                                                                     Case number 18-40250-btr-13
          Rose Marie Chavis

             Direct Home Mortgage Payments by Debtor Required.

             On the Petition Date, the Debtor owed the following claims secured only by a security interest in real property that is the Debtor's
             principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims (other than
             related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition contract, including
             any rate changes or other modifications required by such documents and noticed in conformity with any applicable rules, as such
             payments become due during the Plan Term. The fulfillment of this requirement is critical to the Debtor's reorganization effort.
             Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan Term may preclude
             confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may preclude the
             issuance of any discharge order to the Debtor under § 1328(a).* The Trustee will monitor the Debtor's fulfillment of this
             direct payment obligation ("DPO").

             *All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.


              Mortgage Lienholder                                            Property Address                                 Monthly Payment            Due Date of
                                                                                                                              Amount by Debtor            Monthly
                                                                                                                                                          Payment

 1.                                                        917 Blewitt Dr. Cedar Hill, TX 75104                                   $0.00
 Dallas County Tax Assessor/Collector
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 2.                                                        917 Blewitt Dr. Cedar Hill, TX 75104                                 $187.00
 Franklin Credit Mngmnt
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 3.                                                        917 Blewitt Dr. Cedar Hill, TX 75104                                $1,032.00
 Ocwen Loan Servicing, Llc
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 3.2     Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]

             None. If "None" is checked, the remainder of § 3.2 need not be completed.

             Cure Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon obligations
             arising under an executory contract or an unexpired lease that the Debtor has elected to assume under § 6.1 of this Plan. While
             remaining current on all direct payment obligations (future installment payments) as each comes due under the applicable
             contractual documents during the plan term (a "DPO"), the Debtor shall cure all such delinquencies through the Plan as listed
             below (a "Cure Claim"). Each listed claims constitutes a separate class. The total amount of each allowed Cure Claim will be paid
             in full by the Trustee. The Trustee is authorized to initiate monthly payments on an interim basis based upon the projected amount
             of each Cure Claim listed below until such time as the allowed amount of each Cure Claim is established by the filing of a proof of
             claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of
             any objection thereto, shall control over any projected Cure Claim amount listed below. No interest will be paid on any Cure Claim
             in the absence of documentary proof that the applicable contractual documents entitle the claimant to receive interest on unpaid
             interest.

             If the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next
             distribution by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay termination. If
             the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the
             holder of the Cure Claim and regular distributions on that Cure Claim shall be reinstituted. In the event that the stay termination
             remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released for distribution
             to other classes under this Plan and the Cure Claim shall thereafter be addressed solely under applicable state law procedures
             and will no longer be treated by the Plan. The completion of payments contemplated in this subsection constitutes a cure of all
             defaults of the Debtor's obligation to each listed claimant.



TXEB Local Form 3015-a [eff. 12/2017]                                       Chapter 13 Plan                                                                    Page 3
                   Case 18-40250      Doc 23   Filed 07/20/18    Entered 07/20/18 16:38:14     Desc Main Document         Page 4 of 17



Debtor     Will Spencer Chavis                                                                      Case number 18-40250-btr-13
           Rose Marie Chavis

               Claimant                 Collateral/Property/Contract      Debtor's DPO     Projected         Plan       Projected     Projected Total
                                                Description                 Amount         Cure Claim      Interest      Monthly      Cure Payment
                                                                                            Amount           Rate      Payment by       by Trustee
                                                                                                                         Trustee

 1.
 Franklin Credit Mngmnt                917 Blewitt Dr. Cedar Hill,          $187.00         $7,850.00       0.00%       Pro-Rata         $7,850.00
                                       TX 75104

       Debt Maturing During Plan
       Term.
       Debt Maturing After
       Completion of Plan Term.
       Curing Assumed Executory
       Contract or Lease Obligation
       Pursuant to § 6.1.

 2.
 Ocwen Loan Servicing, Llc             917 Blewitt Dr. Cedar Hill,         $1,032.00        $7,200.00       0.00%       Pro-Rata         $7,200.00
                                       TX 75104

       Debt Maturing During Plan
       Term.
       Debt Maturing After
       Completion of Plan Term.
       Curing Assumed Executory
       Contract or Lease Obligation
       Pursuant to § 6.1.

 3.3      Secured Claims Protected from § 506 Bifurcation. [Check one]

               None. If "None" is checked, the remainder of § 3.3 need not be completed.


 3.4      Secured Claims Subject to § 506 Bifurcation.

          [Check one]

               None. If "None" is checked, the remainder of § 3.4 need not be completed.

               Claims Subject to Bifurcation. The secured portion of each claim listed below (a "506 Claim") is equivalent to the lesser of:
               (1) the value of the claimant's interest in the listed collateral or (2) the allowed amount of the claim. Each listed 506 Claim
               constitutes a separate class. Each 506 Claim will be paid by the Trustee with post-confirmation interest accruing from the
               Effective Date of the Plan at the plan rate stated below. If a 506 Claim is established as an oversecured claim, its holder is
               entitled to an additional component of pre-confirmation interest calculated at the contract rate and payable for the period from
               the Petition Date to the earlier of: (1) the Effective Date of the Plan, or (2) the date upon which the aggregate of such interest,
               plus the allowed amount of the 506 Claim, exceeds the value of the collateral. Such holder is responsible for establishing the
               oversecured amount and the applicable contract rate by suffiicient evidence that is either satisfactory to the Trustee or
               otherwise by court order.

               Based upon the Debtor's election to retain certain personal property that serves as collateral for a 506 Claim, adequate
               protection payments in an initial amount calculated pursuant to LBR 3015(c)(1) shall be paid by the Debtor to the Trustee
               beginning in Month 1 of the Plan for the benefit of holders of allowed 506 Claims secured by personal property as authorized
               by § 1326(a)(1)(C) and LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected
               secured creditor to the absolute exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the
               earliest practicable time to holders of allowed 506 Claims secured by personal property as listed below, notwithstanding any
               failure by the Debtor to achieve confirmation of this Chapter 13 plan. The Trustee shall apply adequate protection payments
               first to accrued interest, if applicable, and then to principal. Adequate protection payments to be distributed by the Trustee are
               subject to the availability of funds and the Trustee is authorized to make pro rata payments if available funds are insufficient to
               pay all adequate protection payments otherwise due. Such adequate protection payments to each affected secured claimant
               shall continue on a monthly basis until the month in which equal monthly payments are initiated to such claimant under the Plan.




TXEB Local Form 3015-a [eff. 12/2017]                               Chapter 13 Plan                                                              Page 4
                  Case 18-40250      Doc 23    Filed 07/20/18    Entered 07/20/18 16:38:14      Desc Main Document        Page 5 of 17



Debtor    Will Spencer Chavis                                                                        Case number 18-40250-btr-13
          Rose Marie Chavis
              Unless the Debtor invokes § 3.10 of this Plan to obtain a final valuation determination at the confirmation hearing regarding any
              listed 506 Claim, or an agreement with the holder of any listed 506 Claim regarding the value of its collateral is otherwise
              incorporated into the confirmation order, the value of collateral securing each 506 Claim is not finally determined upon the
              confirmation of this Plan. Upon confirmation of this Plan, however, the Trustee is authorized to initiate monthly payments on an
              interim basis based upon the projected Collateral Value of each 506 Claim as listed below until such time as the allowed
              amount of each such 506 Claim is established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The
              amount listed in that proof of claim, or the final determination by the Court of any objection thereto, or the subsequent entry of
              an order granting a separate motion for valuation of collateral pursuant to § 506 and Bankruptcy Rule 3012, shall control over
              any projected Collateral Value amount listed below.

              If the automatic stay is terminated as to the property securing a 506 Claim at any time during the Plan Term, the next distribution
              by the Trustee on such 506 Claim shall be escrowed pending any possible reconsideration of the stay termination. If the stay
              termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the holder of
              the 506 Claim and regular distributions on that 506 Claim shall be reinstituted. In the event that the stay termination remains in
              effect on the second distribution date after the stay termination, the escrowed funds shall be released for distribution to other
              classes under this Plan and the 506 Claim shall thereafter be addressed solely under applicable state law procedures and will
              no longer by treated by the Plan.


          Claimant                   Collateral             Adequate        Total Claim     Collateral       Plan      Equal Monthly        Projected
                                    Description             Protection       Amount          Value         Interest     Payment by            Total
                                                             Payment                                         Rate         Trustee          Payment by
                                                                                                                                             Trustee

 1.
 Conn's HomePlus             Clothes Dryer                                  $1,166.00        $583.00        0.00%         Pro-Rata           $583.00
                                                         Month 1
                                                         through

 2.
 Conn's HomePlus             Refrigerator                                   $1,145.00        $572.50        0.00%         Pro-Rata           $572.50
                                                         Month 1
                                                         through

 3.
 Premier Financial           2000 Honda CRV                  $15.00         $1,001.00       $1,000.00       5.00%         Pro-Rata         $1,131.77
                                                         Month 1
                                                         through

 4.
 Premier Financial           2007 Mitsubishi                 $27.02         $1,802.00       $1,801.00       5.00%         Pro-Rata         $2,038.43
                             Elclipse                    Month 1
                                                         through

 3.5     Direct Payment of Secured Claims Not in Default. [Check one]

              None. If "None" is checked, the remainder of § 3.5 need not be completed.


 3.6     Surrender of Property. [Check one]

              None. If "None" is checked, the remainder of § 3.6 need not be completed.


 3.7     Lien Retention.

         The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the indebtedness
         secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a lien securing payment of
         any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of: (1) the total satisfaction of the
         indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2) the entry of a discharge order in favor of
         the Debtor under § 1328(a). In each instance, the provisions of this subsection may be superseded by a subsequent order of the
         Court.




TXEB Local Form 3015-a [eff. 12/2017]                               Chapter 13 Plan                                                               Page 5
                   Case 18-40250    Doc 23       Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document        Page 6 of 17



Debtor    Will Spencer Chavis                                                                      Case number 18-40250-btr-13
          Rose Marie Chavis

 3.8     Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.

         For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this Plan, the
         Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the indebtedness or as
         may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be retained by the Debtor
         under this Plan as they come due in the post-petition period. Such payment shall be tendered to the appropriate taxing authorities in
         accordance with applicable non-bankruptcy law on or before the last date on which such taxes may be paid without penalty.


 3.9     Lien avoidance.      [Check one]

              None. If "None" is checked, the remainder of § 3.9 need not be completed.


 3.10    Rule 3012 Valuation of Collateral.       [Check one]

              None. If "None" is checked, the remainder of § 3.10 need not be completed.

         The remainder of this subsection will be effective only if the "Included" box is checked in § 1.1 of this Plan.

         Further, the invocation of this subsection mandates an evidentiary hearing on the "call" docket of the Court at which
         the Debtor must demonstrate: (1) service of this Plan upon any claimant affected by this subsection in strict
         compliance with the requirements of Bankruptcy Rule 7004 for service of a summons and a complaint, (2) a credible,
         objective basis for the Debtor's opinion regarding asset values that is subject to corroboration from independent
         sources; and (3) an entitlement to the relief sought by a preponderance of the evidence presented.

              Final Determination of Collateral Value. The Debtor seeks a final determination of the value of each of the following assets to
              establish the allowed 506 Claim of each listed claimant for the purposes of § 3.4 of this Plan. Such an expedited final determination
              at the confirmation hearing is binding upon that listed claimant, notwithstanding any contrary proof of claim which might be
              subsequently filed by the claimant, any objection filed thereto, or any value otherwise referenced in the Debtor's schedules.

                    Claimant                                        Collateral Description                     Debtor's Asserted Collateral Value

 1.
 Premier Financial                                  2000 Honda CRV                                                         $1,000.00


 Pertains to Listed Claim #     3     in § 3.4

 2.
 Premier Financial                                  2007 Mitsubishi Elclipse                                               $1,801.00


 Pertains to Listed Claim #     4     in § 3.4

 3.11    Lien Removal Based Upon Unsecured Status.                [Check one]

              None. If "None" is checked, the remainder of § 3.11 need not be completed.


 Part 4:       Treatment of Administrative Expenses, DSO Claims and Other Priority Claims

 4.1     General

         All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full without post-
         confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim basis based upon the
         projected amount of each priority claim listed below until such time as the allowed amount of each priority claim is established by the
         filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by
         the Court of any objection thereto, shall control over any projected priority claim amount listed below.


 4.2     Trustee's Fees.

         The Trustee's fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant thereto,
         shall be promptly collected and paid from all plan payments received by the Trustee.




TXEB Local Form 3015-a [eff. 12/2017]                                Chapter 13 Plan                                                            Page 6
                  Case 18-40250     Doc 23    Filed 07/20/18     Entered 07/20/18 16:38:14    Desc Main Document         Page 7 of 17



Debtor    Will Spencer Chavis                                                                      Case number 18-40250-btr-13
          Rose Marie Chavis

 4.3     Attorney's Fees.

         The total amount of attorney's fees requested by the Debtor's attorney in this case is      $4,000.00      . The amount of
                 $0.00         was paid to the Debtor's attorney prior to the Petition Date. The allowed balance of attorney's fees will be paid by
         the Trustee from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4
         of this Plan.

         The allowed balance of attorney's fees to be awarded to the Debtor's attorney in this case shall be determined by:

              LBR 2016(h)(1);          by submission of a formal fee application.

                 LBR 2016(h)(1): If the attorney's fee award is determined by the benchmark amounts authorized by LBR 2016(h), the total fee
                 shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor's attorney regarding the
                 rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee Period outlined in that local
                 rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper enhancement or reduction
                 of the benchmark amount in this case without the necessity of court order. No business case supplement to the benchmark
                 fee shall be recognized unless a business case designation is granted on or before initial confirmation of the Plan.

                 Fee Application: If the attorney's fee award is determined by the formal fee application process, such fee application shall be
                 filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no application
                 is filed within that period, the determination of the allowed amount of attorney's fees to the Debtor's attorney shall revert to the
                 benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice or hearing and the
                 Trustee shall adjust any distributions in this class accordingly.


 4.4     Priority Claims: Domestic Support Obligations ("DSO"). [Check one]

              None. If "None" is checked, the remainder of § 4.4 need not be completed.


 4.5     Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 4.6     Priority Claims: Taxes and Other Priority Claims Excluding Attorney's Fees and DSO Claims. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 Part 5:       Treatment of Nonpriority Unsecured Claims

 5.1     Specially Classed Unsecured Claims.            [Check one]

              None. If "None" is checked, the remainder of § 5.1 need not be completed.


 5.2     General Unsecured Claims.

         Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:

              100% + Interest at                ;

              100% + Interest at                    with no future modifications to treatment under this subsection;

              Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified claims.


 5.3     Liquidation Analysis: Unsecured Claims Under Parts 4 and 5.

         If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
         under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
         approximately        $0.00    . Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the
         aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
         greater than this amount.




TXEB Local Form 3015-a [eff. 12/2017]                                 Chapter 13 Plan                                                           Page 7
                  Case 18-40250     Doc 23    Filed 07/20/18    Entered 07/20/18 16:38:14     Desc Main Document        Page 8 of 17



Debtor    Will Spencer Chavis                                                                      Case number 18-40250-btr-13
          Rose Marie Chavis

 Part 6:       Executory Contracts and Unexpired Leases

 6.1     General Rule - Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED.
         All other executory contracts and unexpired leases of the Debtor are REJECTED.

         [Check one.]

              None. If "None" is checked, the remainder of § 6.1 need not be completed.

              Assumed Contracts/Leases. All cure claims arising from the assumption of the following executory contracts or unexpired
              leases will be treated as specified in § 3.2 of the Plan and must be listed therein in order to be assumed. Otherwise, post-petition
              installment payments for any assumed executory contract or unexpired lease agreement constitute a direct payment obligation
              ("DPO") of the Debtor for which the Debtor shall serve as the disbursing agent.


                             Counterparty                                        Description and Required Monthly Payment Amount of
                                                                                   Assumed Executory Contract or Leased Property

 1.                                                                     $133.00
 Advantage Storage McKinney Ranch                                       Apt Lease

 2.                                                                     $1,305.00
 Orion McKinney LLC                                                     Residential Lease Agreement

 Part 7:       Vesting of Property of the Estate

 7.1     Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence of a
         court order to the contrary.


 Part 8:       Nonstandard Plan Provisions
              None. If "None" is checked, the rest of Part 8 need not be completed.


 Part 9:       Miscellaneous Provisions

 9.1     Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
         nonappealable order.


 9.2     Plan Distribution Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in the following
         order: (1) Trustee's fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3) allowed attorney fees
         under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under §§ 4.4 and 4.5 concurrently;
         (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and (8) general unsecured claims under
         § 5.2.


 9.3     Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated without the
         consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the Debtor, or any
         attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any authorized exemption claim of
         the Debtor, with the remainder of the funds dedicated as an additional component of the plan base.




TXEB Local Form 3015-a [eff. 12/2017]                              Chapter 13 Plan                                                              Page 8
                 Case 18-40250      Doc 23   Filed 07/20/18    Entered 07/20/18 16:38:14     Desc Main Document        Page 9 of 17



Debtor     Will Spencer Chavis                                                                    Case number 18-40250-btr-13
           Rose Marie Chavis

 Part 10:       Signatures

   X     /s/ Marcus Leinart                                                 Date 07/20/2018

   Signature of Attorney for Debtor(s)


   X     /s/ Will Spencer Chavis                                            Date 07/20/2018

   X     /s/ Rose Marie Chavis                                              Date 07/20/2018

   Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

   By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording
   and order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than
   any nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions
   other than those included in Part 8.



 Part 11:       Certificate of Service to Matrix as Currently Constituted by the Court

I hereby certify that the above and foregoing document was served upon all of the parties as listed on the attached master mailing list (matrix) as
constituted by the Court on the date of service either by mailing a copy of same to them via first class mail and/or electronic notification on
July 20, 2018:


                                                                                    /s/ Marcus Leinart
                                                                                    Marcus Leinart




TXEB Local Form 3015-a [eff. 12/2017]                             Chapter 13 Plan                                                             Page 9
                Case 18-40250   Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 10 of 17

                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

  IN RE: Will Spencer Chavis                                                            CASE NO.     18-40250-btr-13
                                     Debtor


          Rose Marie Chavis                                                            CHAPTER       13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on July 20, 2018, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).




                                 /s/ Marcus Leinart
                                 Marcus Leinart
                                 Bar ID:00794156
                                 Leinart Law Firm
                                 11520 N. Central Expressway
                                 Suite 212
                                 Dallas, Texas 75243
                                 (469) 232-3328


Aaron Rents                                       Ad Astra Recovery                                Barclays Bank Delaware
5264                                              xxx7364                                          xxxx-xxxx-xxxx-7894
309 E. Paces Ferry                                7330 W 33rd Street N                             100 S West St
Atlanta, GA 30303                                 Ste 118                                          Wilmington, DE 19801
                                                  Wichita, KS 67205


Aaron Rents                                       Alltran Financial, LP                            Carey D. Ebert
5298                                              xxxx5972                                         500 N. Central Expressway, Suite 350
309 E. Paces Ferry                                P.O. Box 610                                     Plano, TX 75074
Atlanta, GA 30303                                 Sauk Rapids, MN 56379



Aaron Rents                                       Attorney General of Texas                        Carmax Auto Finance
5606                                              Collections Div/ Bankruptcy Section              xxxx0932
309 E. Paces Ferry                                PO Box 12548                                     Attn: Bankruptcy Department
Atlanta, GA 30303                                 Austin, TX 78711-2548                            PO Box 440609
                                                                                                   Kennesaw, GA 30160


Aarons Sales & Lease                              Barclays Bank Delaware                           CashNetUSA.com
xxxxx4466                                         xxxx-xxxx-xxxx-8498                              xxxx8385
Attn: Bankruptcy                                  100 S West St                                    200 W. Jackson Blvd. 14th Floor
309 E Paces Ferry Rd NE                           Wilmington, DE 19801                             Chicago, IL 60606
Atlanta, GA 30305
                Case 18-40250   Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 11 of 17

                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

  IN RE: Will Spencer Chavis                                                            CASE NO.     18-40250-btr-13
                                     Debtor


          Rose Marie Chavis                                                            CHAPTER       13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE
                                                      (Continuation Sheet #1)

Chase Card Services                               Comenity Bank/King Size                          Dallas County Tax Assessor/Collector
xxxxxxxxxxxx1693                                  xxx-xx6-398                                      xxxxxxxxxxxxx0000
Attn: Correspondence Dept                         PO Box 659728                                    John R. Ames, CTA
PO Box 15298                                      San Antonio, TX 78265-9728                       PO Box 139066
Wilmington, DE 19850                                                                               Dallas, TX 75313-9066


Chase Card Services                               Comenity Bank/Roaman's                           Discover Financial
xxxxxxxxxxxx2008                                  xxx-xx0-530                                      xxxxxxxx4894
Attn: Correspondence Dept                         PO Box 659728                                    PO Box 3025
PO Box 15298                                      San Antonio, TX 78265-9728                       New Albany, OH 43054
Wilmington, DE 19850


Citibank/Exxon Mobile                             Comenitybank/catherine                           Ditech
xxxxxxxxxxxx4780                                  xxxxxxxxxxxx3792                                 xxxx6495
Citicorp Credit Srvs/Centralized Bankrup          Po Box 182789                                    Attn: Bankruptcy
PO Box 790040                                     Columbus, OH 43218                               PO Box 6172
St. Lous, MO 63179                                                                                 Rapid City, SD 57709


Citibank/Exxon Mobile                             Comptroller of Public Accounts                   FedLoan Servicing
xxxxxxxxxxxx6226                                  Revenue Accounting/ Bankruptcy Div               xxxxxxxxxxxxx0013
Citicorp Credit Srvs/Centralized Bankrup          PO Box 13528                                     Attention: Bankruptcy
PO Box 790040                                     Austin, TX 78711                                 PO Box 69184
St. Lous, MO 63179                                                                                 Harrisburg, PA 17106


Citibank/The Home Depot                           Conn's HomePlus                                  Fingerhut
xxxxxxxxxxxx8945                                  xxxxx3231                                        xxxxxxxxxxxx3422
Citicorp Cr Srvs/Centralized Bankruptcy           Attn: Bankruptcy                                 Bankruptcy Dept
PO Box 790040                                     PO Box 2358                                      6250 Ridgewood Rd
St Louis, MO 63129                                Beaumont, TX 77704                               Saint Cloud, MN 56303


CMRE Financial Services                           Conn's HomePlus                                  Fingerhut
xxxxxxxxxxxxxxxx7913                              xxxxx3030                                        xxxxxxxxxxxx7942
Attn: Bankruptcy                                  Attn: Bankruptcy                                 Bankruptcy Dept
3075 E Imperial Hwy Ste 200                       PO Box 2358                                      6250 Ridgewood Rd
Brea, CA 92821                                    Beaumont, TX 77704                               Saint Cloud, MN 56303


Comenity Bank/Bedford Fair                        Conn's HomePlus                                  Fingerhut
xxxxxxxxxxxx1020                                  xxxxx3230                                        xxxx-xxxx-xxxx-3266
PO Box 182125                                     Attn: Bankruptcy                                 Bankruptcy Dept
Columbus, OH 43218                                PO Box 2358                                      6250 Ridgewood Rd
                                                  Beaumont, TX 77704                               Saint Cloud, MN 56303
                Case 18-40250    Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 12 of 17

                                          UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

  IN RE: Will Spencer Chavis                                                             CASE NO.     18-40250-btr-13
                                      Debtor


          Rose Marie Chavis                                                             CHAPTER       13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE
                                                        (Continuation Sheet #2)

Franklin Credit Mngmnt                             MobiLoans                                        Ocwen Loan Servicing, Llc
xxxxxx3382                                         xxxxxx1725                                       xxxxxx4452
101 Hudson St. 25th floor                          PO Box 1409                                      Attn: Research/Bankruptcy
Jersey City, NJ 07302                              Marksville, LA 71351                             1661 Worthington Rd Ste 100
                                                                                                    West Palm Bch, FL 33409


Frontline Asset Stategies                          Money Key                                        Portfolio Recovery
xxxxxx5874                                         xxxxxxx53-00                                     xxxxxxxxxxxx5928
2700 Snelling Ave. N. Ste. 250                     3422 Old Capitol Trail Ste. 1613                 PO Box 41067
Saint Paul, MN 55113                               Wilmington, DE 19808                             Norfolk, VA 23541



Internal Revenue Service                           Monroe And Main                                  Premier Financial
Centralized Insolvency Operations                  xxxxxxxxx211O                                    PO Box 511
PO Box 7346                                        1112 Seventh Ave.                                Sugar Land, TX 77487
Philadelphia, PA 19101-7346                        Monroe, WI 53566



Lending Club Corp                                  NCO Financial Systems                            Property Frameworks
xxx8451                                            xxxxx0001                                        xxxx-1523
71 Stevenson St                                    PO Box 15109                                     17311 Dallas Pkwy. Ste. 235
Suite 300                                          Wilmington, DE 19850-5109                        Dallas, TX 75248-1132
San Francisco, CA 94105


Linebarger Goggan Blair et al                      NTB                                              Prosper Marketplace Inc
2323 Bryan St, Ste 1600                            xxxx-xxxx-xxxx-5928                              xx8033
Dallas, TX 75201                                   PO Box 183015                                    PO Box 396081
                                                   Columbus, OH 43218-3015                          San Francisco, CA 94139



Mason                                              NTB                                              Radiology Associates of North Texas
xxxxxxx51-02                                       xxxx-xxxx-xxxx-1633                              xxxxxx-xxxTC-RA
P.O. Box 2808                                      PO Box 183015                                    PO Box 1723
Monroe, WI 53566                                   Columbus, OH 43218-3015                          Indianapolis, IN 46206



Medical City Dallas                                Ocwen Loan Servicing                             Rise
xxxxx9780                                          xxxx2764                                         xxxx5626
PO Box 740782                                      Attn: Research Dept                              PO Box 101808
Cincinnati, OH 45274-0782                          1661 Worthington R Ste 100                       Fort Worth, TX 76185
                                                   West Palm Beach, FL 33409
              Case 18-40250    Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 13 of 17

                                        UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF TEXAS
                                                SHERMAN DIVISION

  IN RE: Will Spencer Chavis                                                           CASE NO.     18-40250-btr-13
                                    Debtor


         Rose Marie Chavis                                                            CHAPTER       13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                     (Continuation Sheet #3)

Speedy Cash                                      Synchrony Bank/Conns                             TXU/Texas Energy
3611 N. Ridge Road                               xxxxxxxxxxxx4437                                 xxxxxxxxxxxx6447
Wichita, KS 67205-1214                           Attn: Bankruptcy                                 TXU/Bankruptcy
                                                 PO Box 965060                                    PO Box 650393
                                                 Orlando, FL 32896                                Dallas, TX 75265


Syncb/Basset                                     Synchrony Bank/Walmart                           United States Attorney General
xxxxxxxxxxxx5319                                 xxxx-xxxx-xxxx-3653                              Dept. of Justice
Attn: Bankruptcy                                 Attn: Bankruptcy                                 Main Justice Bldg
PO Box 965060                                    PO Box 965060                                    10 and Constitution, NW
Orlando, FL 32896                                Orlando, FL 32896                                Washington, DC 20530-0001


Synchrony Bank/ JC Penneys                       Texas Acceptance LLC                             United States Attorney's Office
xxxxxxxx2215                                     xx2539                                           110 North College Ave, Ste 700
Attn: Bankruptcy                                 125 North Halsted 4th Floor                      Tyler, TX 75702-0204
PO Box 965060                                    Chicago, IL 60661
Orlando, FL 32896


Synchrony Bank/Amazon                            Texas Alcoholic Beverage Commission              United States Trustee's Office
xxxx-xxxx-xxxx-1102                              Licenses and Permit Division                     110 North College Ave, Ste 300
Attn: Bankruptcy                                 PO Box 13127                                     Tyler, TX 75702-7231
PO Box 965060                                    Austin, TX 78711-3127
Orlando, FL 32896


Synchrony Bank/Care Credit                       Texas Radiology Associates                       Webbank/Gettington
xxxxxxxxxxxx3919                                 PO Box 2285                                      xxxxxxxxxxxx3937
Attn: Bankruptcy                                 Indianapolis, IN 46206-2285                      Attn: Bankruptcy
PO Box 965060                                                                                     6250 Ridgewood Rd
Orlando, FL 32896                                                                                 Saint Cloud, MN 56301


Synchrony Bank/Care Credit                       Texas Workforce Commission                       Will Spencer Chavis
xxxxxxxxxxxx7045                                 TEC Building- Bankruptcy                         2580 Collin McKinney Pkwy. Apt 2508
Attn: Bankruptcy                                 101 E 15th St                                    McKinney, TX 75070
PO Box 965060                                    Austin, TX 78778
Orlando, FL 32896


Synchrony Bank/Chevron                           Think Finance LLC
xxxx-xxxx-xxxx-2675                              xx-x3964
Attn: Bankruptcy                                 5685 Richard St. Ste. 3
PO Box 965060                                    Jacksonville, FL 32216
Orlando, FL 32896
                 Case 18-40250    Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 14 of 17



                                           UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF TEXAS
                                                   SHERMAN DIVISION

  IN RE:    Will Spencer Chavis                                                           CASE NO.     18-40250-btr-13
            Rose Marie Chavis
                                                                                         CHAPTER       13

                                                      Certificate of Service


I hereby certify that on this date, I did serve a true and correct copy of the foregoing to the following interested parties and
those listed on the attached matrix by United States Mail, First Class:

Date:      7/20/2018                                                   /s/ Marcus Leinart
                                                                       Marcus Leinart
                                                                       Attorney for the Debtor(s)


Aaron Rents                                      Barclays Bank Delaware                              Citibank/Exxon Mobile
309 E. Paces Ferry                               100 S West St                                       Citicorp Credit Srvs/Centralized Bankrup
Atlanta, GA 30303                                Wilmington, DE 19801                                PO Box 790040
                                                                                                     St. Lous, MO 63179



Aarons Sales & Lease                             Carey D. Ebert                                      Citibank/The Home Depot
Attn: Bankruptcy                                 500 N. Central Expressway, Suite 350                Citicorp Cr Srvs/Centralized Bankruptcy
309 E Paces Ferry Rd NE                          Plano, TX 75074                                     PO Box 790040
Atlanta, GA 30305                                                                                    St Louis, MO 63129



Ad Astra Recovery                                Carmax Auto Finance                                 CMRE Financial Services
7330 W 33rd Street N                             Attn: Bankruptcy Department                         Attn: Bankruptcy
Ste 118                                          PO Box 440609                                       3075 E Imperial Hwy Ste 200
Wichita, KS 67205                                Kennesaw, GA 30160                                  Brea, CA 92821



Advantage Storage McKinney Ranch                 CashNetUSA.com                                      Comenity Bank/Bedford Fair
3951 S. Lake Forest                              200 W. Jackson Blvd. 14th Floor                     PO Box 182125
McKinney, TX 75070                               Chicago, IL 60606                                   Columbus, OH 43218




Alltran Financial, LP                            Chase Card Services                                 Comenity Bank/King Size
P.O. Box 610                                     Attn: Correspondence Dept                           PO Box 659728
Sauk Rapids, MN 56379                            PO Box 15298                                        San Antonio, TX 78265-9728
                                                 Wilmington, DE 19850
                Case 18-40250    Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 15 of 17



                                          UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

  IN RE:   Will Spencer Chavis                                                           CASE NO.     18-40250-btr-13
           Rose Marie Chavis
                                                                                        CHAPTER       13

                                                     Certificate of Service
                                                      (Continuation Sheet #1)

Comenity Bank/Roaman's                          Fingerhut                                           MobiLoans
PO Box 659728                                   Bankruptcy Dept                                     PO Box 1409
San Antonio, TX 78265-9728                      6250 Ridgewood Rd                                   Marksville, LA 71351
                                                Saint Cloud, MN 56303



Comenitybank/catherine                          Franklin Credit Mngmnt                              Money Key
Po Box 182789                                   101 Hudson St. 25th floor                           3422 Old Capitol Trail Ste. 1613
Columbus, OH 43218                              Jersey City, NJ 07302                               Wilmington, DE 19808




Conn's HomePlus                                 Frontline Asset Stategies                           Monroe And Main
Attn: Bankruptcy                                2700 Snelling Ave. N. Ste. 250                      1112 Seventh Ave.
PO Box 2358                                     Saint Paul, MN 55113                                Monroe, WI 53566
Beaumont, TX 77704



Dallas County Tax Assessor/Collector            Leinart Law Firm                                    NCO Financial Systems
John R. Ames, CTA                               11520 N. Central Expressway                         PO Box 15109
PO Box 139066                                   Suite 212                                           Wilmington, DE 19850-5109
Dallas, TX 75313-9066                           Dallas, Texas 75243



Discover Financial                              Lending Club Corp                                   NTB
PO Box 3025                                     71 Stevenson St                                     PO Box 183015
New Albany, OH 43054                            Suite 300                                           Columbus, OH 43218-3015
                                                San Francisco, CA 94105



Ditech                                          Mason                                               Ocwen Loan Servicing
Attn: Bankruptcy                                P.O. Box 2808                                       Attn: Research Dept
PO Box 6172                                     Monroe, WI 53566                                    1661 Worthington R Ste 100
Rapid City, SD 57709                                                                                West Palm Beach, FL 33409



FedLoan Servicing                               Medical City Dallas                                 Ocwen Loan Servicing, Llc
Attention: Bankruptcy                           PO Box 740782                                       Attn: Research/Bankruptcy
PO Box 69184                                    Cincinnati, OH 45274-0782                           1661 Worthington Rd Ste 100
Harrisburg, PA 17106                                                                                West Palm Bch, FL 33409
                Case 18-40250    Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 16 of 17



                                          UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

  IN RE:   Will Spencer Chavis                                                           CASE NO.     18-40250-btr-13
           Rose Marie Chavis
                                                                                        CHAPTER       13

                                                     Certificate of Service
                                                      (Continuation Sheet #2)

Orion McKinney LLC                              Rose Marie Chavis                                   Synchrony Bank/Conns
2580 Collin McKinney Pkwy.                      2580 Collin McKinney Pkwy. Apt 2508                 Attn: Bankruptcy
McKinney, TX 75070                              McKinney, TX 75070                                  PO Box 965060
                                                                                                    Orlando, FL 32896



Portfolio Recovery                              Speedy Cash                                         Synchrony Bank/Walmart
PO Box 41067                                    3611 N. Ridge Road                                  Attn: Bankruptcy
Norfolk, VA 23541                               Wichita, KS 67205-1214                              PO Box 965060
                                                                                                    Orlando, FL 32896



Premier Financial                               Syncb/Basset                                        Texas Acceptance LLC
PO Box 511                                      Attn: Bankruptcy                                    125 North Halsted 4th Floor
Sugar Land, TX 77487                            PO Box 965060                                       Chicago, IL 60661
                                                Orlando, FL 32896



Property Frameworks                             Synchrony Bank/ JC Penneys                          Texas Radiology Associates
17311 Dallas Pkwy. Ste. 235                     Attn: Bankruptcy                                    PO Box 2285
Dallas, TX 75248-1132                           PO Box 965060                                       Indianapolis, IN 46206-2285
                                                Orlando, FL 32896



Prosper Marketplace Inc                         Synchrony Bank/Amazon                               Think Finance LLC
PO Box 396081                                   Attn: Bankruptcy                                    5685 Richard St. Ste. 3
San Francisco, CA 94139                         PO Box 965060                                       Jacksonville, FL 32216
                                                Orlando, FL 32896



Radiology Associates of North Texas             Synchrony Bank/Care Credit                          TXU/Texas Energy
PO Box 1723                                     Attn: Bankruptcy                                    TXU/Bankruptcy
Indianapolis, IN 46206                          PO Box 965060                                       PO Box 650393
                                                Orlando, FL 32896                                   Dallas, TX 75265



Rise                                            Synchrony Bank/Chevron                              United States Trustee- Eastern District
PO Box 101808                                   Attn: Bankruptcy                                    110 N. College Ave, Ste 300
Fort Worth, TX 76185                            PO Box 965060                                       Tyler, TX 75702
                                                Orlando, FL 32896
                Case 18-40250    Doc 23   Filed 07/20/18   Entered 07/20/18 16:38:14   Desc Main Document   Page 17 of 17



                                          UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

  IN RE:   Will Spencer Chavis                                                           CASE NO.    18-40250-btr-13
           Rose Marie Chavis
                                                                                        CHAPTER      13

                                                     Certificate of Service
                                                      (Continuation Sheet #3)

Webbank/Gettington
Attn: Bankruptcy
6250 Ridgewood Rd
Saint Cloud, MN 56301



Will Spencer Chavis
2580 Collin McKinney Pkwy. Apt 2508
McKinney, TX 75070
